      Appellate Case: 25-1164     Document: 8       Date Filed: 04/24/2025    Page: 1
                                                                                    FILED
                                                                        United States Court of Appeals
                      UNITED STATES COURT OF APPEALS                            Tenth Circuit

                            FOR THE TENTH CIRCUIT                               April 24, 2025
                        _________________________________
                                                                             Christopher M. Wolpert
                                                                                 Clerk of Court
 D.B.U., and on behalf of themselves and
 others similarly situated, et al.,

       Petitioners - Appellees,

 v.                                                            No. 25-1164
                                                      (D.C. No. 1:25-CV-01163-CNS)
 DONALD J. TRUMP, in his official                                (D. Colo.)
 capacity as President of the United States,
 et al.,

       Respondents - Appellants.
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                                     ORDER
                        _________________________________

Before HARTZ, PHILLIPS, and CARSON, Circuit Judges.
                  _________________________________

       The government has filed an Emergency Motion for a Stay Pending Appeal.

Petitioners are directed to respond to the government’s motion on or before Saturday,

April 26, 2025, at 5:00 p.m., MDT. The government may file an optional reply on or

before Sunday, April 27, 2025, at 5:00 p.m., MDT.


                                               Entered for the Court



                                               CHRISTOPHER M. WOLPERT, Clerk
